Mim.,s“t.,€;.a§na,1:Ol-CV-05078 Document #: 83 Filed: 10/02/02 Page 1 of 17 Page|D #:556
United States Distriet Court, Northern I)istrict of Illinois

 

Name of Assigm:d .ludp,e
or Magistrate .luclge

Chai'les P. Kocoras

Sitting .Iudge if Other
than Asslgned dodge

 

 

 

 

 

 

CASE NUMBER 0 l C 5073 DATE 10¢“2/2002
CASE Hinkie Engineering, lnc. vs. 175 Jackson L.L.C. et nl
TITLE
[In the following box {a) indicate the party filing the motinn, e.g., pluintil`i`, defendnnl, '_lrt.l party pli.iinlil"f, and (b) state briefly llie nature
MDTION_ ofthe motion being presentod.j

 

 

DDCKET EN'I`RY:

 

 

 

 

 

 

 

     
    
 

 

 

 

 

 

 

 

 

 

(l) l:l iiiled motion of [ use listing in “Motion” box abuvc.]

(2) l:l Bi'ief in support ot` motion due

(_3) |:| Answer brief to motion due . Reply to answer brief due _

(4) l:l R.uling/Hcaring on set for at

(5) l:l Statns hearing[lield/eontini.ted to] [set t`or!re-sct for] on set for at

(`t‘i) l:l Pi'etria.l eonfetenee[lteld!continued to] [sot for/re~set for] on set for at _

(7) |;l Trial[sot l"or/ro-sct for] on at

(S) |:| [Beneh/Jury trinl] [I-Iearing] held/continued to __ at

(9) |:l This ease is dismissed [with!without] prejudice and without costs[by/agreement/pnrsustnt to]

l:l FRCP4(m) |:l Locsl Rnle 41.1 l:l FRCP41(:1}(1) |:l FRCP¢ll(a)(Z)_

(lo) l [Other docket entry] Ruling lield. ENTER MEMORAN]JUM OPlNION: 'l`lie Coui't grants in
part end denies in part Hinkle's motion (Doc 6?-1) to strike, grants in part and denies in part Hinkle’s
motion (Doe 59-1) t`ot summary jndgment, grants in part and denies in part Jnel~:son’s and lntell’s cross-
motion (`Doc 74-1`) for summary judgment, and denies l-linkle's motion (Doe 150d l) motion for sanctions
Partios are given to November 14, 2002 to tile a joint Final Pretrinl Ordc:r.

('11) l [For further detail see order attached to die original minute order.]

No notices required, advised in open court.

wm notices required nunliJ¢l ul nu|il.l.=e

Nt_itit:es muilet.l by judge`S Smfi'. CT 0 3 2002

Notitied counsel by telephone * § Mc et

\/ Doi:keting to mail not.ie\:s. "

_l`.,.,-t -r‘\'r'i

Mm'i no 4 term ` t~ ; ‘ ' ' '

Cn]')y to ` ' magistrate ' i.lge. n-

dote mailed notice
CDLll`[E'GOl`l`l

depuly'S
initials

 

Datoftiint: received in
central Clei'k`s Uti'tee

mailing deputy initials

 

 

 

 

 

 

 

 

Case: 1:Ol-cv-05078 Document #: 83 Filed: 10/02/02 Page 2 of 17 Page|D #:557

UNITED STATES DISTRICT COURT

‘ No_aTHERN Disratcr on ILLiNots MUE-m]
EAsTsaN ni\/tstoi~i
UCT 0 3 2003
HtNKLE ENGtNEan~iG, tNC., )
`)
Plaintiff, )
)
vs ) 01 C 507s
)

175 JACKSON L.L.C., TNTELL MANAGEMENT )
AND WVESTMENT COMPANY, and WALSH )
CO`NSTRUCTION COMPANY OF ILLlNOlS, )

)
Defendants. )

MEMORANDUM OPINION
CHARLES P. KOCORAS, Chief District Judge:

This matter comes before the court on four motions Plaintifl" Hinkle
Engin eering, Inc. (“Hinkle”) moves ( l ) for summary judgment again st Defendants 175
Jackson LLC (“‘Jackson”) and intell Management and Investment Company (“Intell”),
(2) for sanctions against Jackso'n, Intell, and their joint counsei, and (3) to stn`l<e three
paragraphs of Jackson’s and l`ntell’s Response to the Statement of Material Facts with
respect to Hinkle’s summary judgment motion. Defendants Jackson and Intell cross-
move for summary judgement Defendant Walsh Construction Company of illinois

(“Wals`h”) is not a party to these motions.1 For the reasons set forth below, we grant

 

]The facts laid out in this opinion are not necessarily binding on Walsh.

 

 

  

  

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 3 of 17 Page|D #:558

in part and deny in part Hinkle’s motion to strike, grant in part and deny in part
Hinl<le’s motion for sunnnary judgment, grant in part and deny in part Jackson’s and

Intell’s cross~motion for summary judgment, and deny I-Iinkle’s motion for sanctions

BACKGROUND

Hinlde is an engineering firm with an office in Chicago. During the relevant
time period, Hinlcle maintained office space in suite 2109 (the “Offices”) of the
I'nsurance Exchange Bui]ding_, 175 West Jackson .Blvd., Chicago, Il1inois (the
“Building”). .l`aclcson and Hinkle had a written lease (the “Lease”) that governed
Hinkle’s tenancy at the Building. The Lease was to terminate on January 31, 2000, but
Was renewed on a month to month basis by the mutual agreement of Jaekson and
Hinlde.

Durin g the relevant time peried, Intell was Jackson’s managing agent for the
Building.

On August 7, 1999, Jac`kson contracted with Walsh to have Walsh perform a
$29 million renovation project (t`lie “Project”) at the Building, including a renovation
of the Building’s HVAC system "l`he Project began in early 2000 and involved
construction work on the Building’s roof as well as heavy construction materials being

placed on the roof. During the Project, Walsh drilled holes in the roof to expose steel,

_g_

ase: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 4 of 17 Page|D #:559

which was then used to make a connection upon which a platform for the new llVAC
system was erected Because of the holes, the Ofiices periodically flooded from
February through May 2000 The flooding allegedly caused substantial damage to
Hinkle’s property and severely disrupted its business activitiesl

On June 29, 2001, Hinltle filed an action against Jacksoii, Intell, and Walsh.
Hinklc’s first amended complaint (the “Complaint”) alleges two counts. Count 1 is
against only Jacl<son for breach of contract. Count ll is against Jackson,, Intell, and
Walsh for nein gen ce. Under Count ll, Hin`i:le seeks primitive damages against l`acl<son
and Walsh, but not lntell.

Hirilde moved for summary judgment on Jacltson’s and lntell’s affirmative
defenses and counterclaims and for Rule ll and section 1927 sanctions against
Jacl<son, lntell, and their joint counsel with respect to their assertion of these
affirmative defenses and counterclaims Hinlde also moved to strike three responses
of Jacltson and lntell in their Local Rule 56.1(b) statement, and to deem admitted
Hinkle’s corresponding Local Rule 56.l(a) contentions Jaclr.son and lntell filed a
cross-motion for summary judgement on the Complaint and on their counterclaims

We now rule on all four motions

 

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 5 of 17 Page|D #:560

LOCAL RULE 56.1

I. LEGAL STANDARD

Local Rule 56.1 places certain burdens on parties making and opposing motions
for summary judgment Local Rule 56.1(a) (3) requires the moving party to submit “a
statement of material facts to which the moving party contends there is no genuine
issue and that entitle the moving party to a judgment as a matter of law . . . .” N.D. lll.
L.R. 56.1(a)(3). Local R.u|e 56.l(b)(3) requires each opposing party to submit c‘a
concise response to the movant’s statement . . . .” N.D. lll. L.R. 56. l(b)(3). Notably,
any material facts set forth in the movant’s statement “will be deemed to be admitted
unless controverted by the statement of the opposing party.” N.D. lll. L.R.
56.1(b)(3)(B). The Court has discretion in deciding whether or not to strictly enforce
this local rule. See Borde!on v. Chieogo Sch. Refbrm Bd. of T.rastees, 233 F.?id 524,
527 (7th Cir. 2000) (“Given their importance_., we have consistently and repeatedly
upheld a district court's discretion to require strict compliance with its local rules

governing summary judgment.”).

Il. DISCUSSION
Local Rule 56.1 is designed to isolate the material facts that are actually in

dispute. Unless the opposing party is forced to admit or deny the specific contentions

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 6 of 17 Page|D #:561

that are posed to it, the rule fails to fulfill its fun.ction. ln paragraphs `18, 21 , and 27 of
its Local Rule 56. l(a)(fi) statement, Hinkle makes specific contentions'.
18. Af`ter the term of the Lease expired on .lanuary 31, 2000, Hinkle

continued to occupy and rent the Offices with the consent of
Jackson and lntell.

21. Hinkle never agreed to any modifications or alterations of the
Lease’s terms for Hinkle’s tenancy in the Ofiices following
January 3`1, 2000.

27. Hinkle knew about the renovation project before it started
However, Hinkle did not know that the renovation project would
involve either holes being punched in the roof or flooding in the
C)fficcs.

Hinkle L.R. 56.l(a)(3) St. at 1[11 18, 21, and 27. ln the corresponding paragraphs of
their Local Rule 56.l(b)(3) statement, .lackson and lntell did deny paragraph 21 by

offering a controverting statement but did not deny paragraphs 18 and 27.

Consequently, the contentions in paragraphs 18 and 27 are deemed admitted

SUM MARY .l UDGMENT
I. LEGAL STANDARD
Summary judgment is appropriate when the record, viewed in the light most
favorable to the nonmoving party, reveals that there is no genuine issue as to any

material fact and that the moving party is entitled to judgment as a matter of law.

_5_

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 7 of 17 Page|D #:562

Fed. R. Civ. P. 56(c). Tlie moving party bears the initial burden of showing that no
genuine issue of material fact exists. Celorar Cor'p. v. Ccirrert, 477 U.S. 317, 325
(1986). The burden then shifts to the non-moving party to show through specific
evidence that a triable issue of fact remains on issues on which the non-movant bears
the burden of proof at trial. ld. ”l`he non-movant may not rest upon mere allegations
in the pleadings or upon conclusory statements in affidavits; it must go beyond thc
pleadings and support its contentions with proper documentary evidence fd. The
court considers the record as a whole and draws all reasonable inferences in the light
most favorable to the party opposing the motion. Bay v. Cassens Transporr Co., 212
F.3d 969, 972 (7th Cir. 2000). A genuine issue of material fact exists when "the
evidence is such that a reasonable jury could return a verdict for the nomnoving party. "
Anderscn v. Li'berry Lobby, lee., 477 U.S. 242, 248 (1986). lt is with these principles
in mind that we address Hinkle’s motion for summary judgement and Jackson’s and

Intell’s cross-motion for summary judgment

ll. DISCUSSIDN

A. Hinkle’s Motion For Summggy Judgement on J ackson’ s and Intcll’ s Aff`irmative
Dcfenses

Hinkle moves for summary judgment on Jacl<.son and Intell’s affirmative

defenses As an initial matter, Jackson and lntell fail to understand their obligations

_5_

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 8 of 17 Page|D #:563

for defeating a summary judgment motion. In their brief they offer an entire section
entitled “Federal Courts Require thice Pleading and `Nothing Morc”. Jackson's and
lntell’s Response at 5-6. Such a position would be appropriate to defeat a Rule

lZ(b)(o) or 12(c) motion, but is clearly off the mark in this Rule 56 motion.

1. Waiver of Recovery

.lackson’s First Affirmativc Dcfense alleges that Hinkle “waived any right of
recovery it might have had against defendant under the lease . . ..” lackson’s Second
Amended Answer (“Jackson’s Answer”) at il 7. Upon expiration of the original Lease
term, Jackson consented to Hinkle’s continued tenancy. l\lo new written instrument has
been alleged by either party with respect to the continued tenancy. Under such
circumstances, the new lease is a month to month tenancy governed by the terms of the
original Lease “except insofar as those terms and conditions [of the Lease] were
modified by the parties.” See Bi`smorck Hoi‘el Co. v. Siitherland, 529 N.E.2d 1091,
1096 (_Ill. App. 1933). lackson admits that Hinkle did not know that the renovation
project would involve either holes being punched in the roof or flooding in the Off'ices.
Thus, the Court finds as a matter of law that Hinkle could not have implicitly waived

any rights to sue under the Lease with respect to flood damages caused by the holes.

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 9 of 17 Page|D #:564

2. Assumption of Risk

Jackson’s Second Affirmative Defense and Intell’s First Affirmative Defense are
nearly identical and claim that Hinkle, “by remaining in the building during the
construction period, therefore assumed the risk of any damage it might sustain from the
construction taking place on the roof.” Jackson’s Answer at S; Intcll’s Answer at 7.

Under lllinois law, “an assumption of the risk defense can prevail only if the
plaintiff subjectively knew of the risk when agreeing to encounter it.” 77{ W Ti`tle his
Co. v. Securizy Uni`on Ti`i.‘le Iris. Co. 337 F. Supp. 1029, 1031 (N.D. lll. 1995). lackson
and lntell admit that Hinkle did not know that the renovation project would involve
either holes being punched in the roof or flooding in the Offices. Thus, the assumption
of risk defense is unavailable
3. Punitive Darnages

Jackson’s Third Affirmative Dcfense and lntell’s Second Affinnative Defense
are identical and state in their entirety: “The plaintiff has failed to state a claim for
punitive damages upon which relief may be granted552

This is not an affirmative defense An affirmative defense is “new matter which

assuming the complaint to be true, constitutes a defense to it." Bi-Aci<’s LAW

 

2 Because Hinkle does not sock punitive damages from l_ntell, intell’s “Second Affirmative
Defense” is irrelevant and hereby stricken.

_g_

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 10 of 17 Page|D #:565

Dic'i‘ioNAnvSS (5th ed. 1979); Sss else 5 WaioHr&MiLLER, FEDERAL PnAcrtcn reno
Pnocnotiaa § 1270 (2d ed. 1990) (stating that an affirmative defense stems from the
common law “which permitted a defendant who was willing to admit that plaintiffs
declaration demonstrated a prima facie case to then go and allege additional new
material that would defeat plaintiffs otherwise valid cause of actioni”). Jackson and
lntell have not alleged any new matter. They have merely concluded that Hinkle failed
to state a claim for punitive damages The court has already ruled that Hinkle’s claim
for punitive damages is legally sufficient February 6, 2002, Order. For lackson to
assert the opposite of what this Court has already titled and back it up with zero

allegations is a waste of everyone’s time.

`B. Hinkle’s Motion And Jacl<son’s and lntgll’s Crg§g-Motion For Summary
lud ementon]ack n’ n ln ll’ , ntrl'iims

Jackson and lntell assert counterclaims against Hinkle based on three provisions
of the Lease, paragraphs Q(a), 9(1;)), and 9(c'). Specifically, Jackson and lntell allege

that they have sustained and will continue to sustain damages because Hinkle failed to

hold them harmless and insure them from negligence liability.

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 11 of 17 Page|D #:566

As an initial matter Intell’s claim that Hinkle owed contractual duties to it is
without merit as Intell was not a party to the Lease. Additionally, Intell is not a third
party beneficiary of the promises contained in paragraphs 9(b) and 9(c).3

lackson’s claim that Hinkle has a duty to hold it harmless is without merit. Thc
Courf in its October 13, 2001 , Order held that “paragraph 9(a) of the lsease between the
parties is void as against public policy according to the lllinois Landlord and Tenant
Act.” Octo`ber 13, 2001, Order at 9. in the same order, the Court also held that
paragraph 9(b), to the extent that it would exculpate Jackson from negligence liability
is “void against public policy according to the lllinois Landl.ord and Tenant Act.”
October 18, 2001, Order at 10. The Octobcr 18, 2001, Order is the law of the case, and
“under the law of the case doctrine, we do not reopen issues decided in earlier stages
of the same litigation unless we have a strong conviction that the earlier ruling was
wrong and the party that benefitted from the earlier ruling would not bc unduly
harmed.” Whi`i.'e v. Godinez, 301 F.3d 796, 803 (7th Cir. 2002). lt is imperative that
Jackson and lntell not attempt to revisit issues this Court has already decided unless the

narrow exception to the law of the case doctrine applies, which it clearly does not.

 

3 Whether or not Intell was a third party beneficiary of the promises contained in paragraph
9(c) is moot as that provision is void.

_1()_

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 12 of 17 Page|D #:567

lackson’s claim that Hinkle had a duty to insure itself (e.g. Hinkle) under
paragraph 9(b) fails to state a claim upon which relief can be granted Paragraph 9(b)
requires l~linkle to obtain property insurance for itself, not liability insurance for
lackson. The fact that an injury is insured against does not mean that liability is
avoided For example, even if Jacl<son negligently caused Hinkle damages and those
damages were completely covered by Hinkle’s insurance, Jackson would still be
exposed to negligence liability. Thus, even if Jackson can prove that Hinkle breached
paragraph 9(b), it cannot prove any damages

Jackson’s claim that the insurancc, which Hinkle was obligated to purchase
pursuant to paragraph 9(c), was Hinkle’s “sole form of relief” is without merit. Tlie
Court has already ruled that paragraph 9(_c) “does not provide the sole remedy for the
parties as to claims against each othcr.” October 18, 2001, Order at 11. Again,
Jackson should refrain from arguing directly contrary to the law of the case as
established under this Court’s earlier rulings unless the narrow exception to the law of
the case doctrine applies

lackson’s claim that Hinkle had a duty to insure lackson and itself under
paragraph 9(c) does contain a promise, which if breached, could cause Jackson
damage Paragraph 9(c) requires Hinkle to obtain liability insurance of $250,000 for

property damage naming .lackson and Hinkle as insureds The policy only names

_11_

 

Case: 1:Ol-cv-05078 Document #: 83 Filed: 10/02/02 Page 13 of 17 Page|D #:568

Hinkle as an insured. Hinkle argues that .'l'ackson nonetheless is covered by the policy.

That argument relates to causation and damages but not to the breach.4

C. ckson’s and int ll’L Motion For Summa Jud ement on the Com lain
l. Negli gence
Jaclcson and Intell argue that summary judgment on the Complaint should be
granted because Walsh was an independent contractor. A recent lllinois case explains
the significance of independent contractor status:
The primary issue in this case was whether Sarah Augsburger was
defendants agent or merely an independent contractor. if an agency
relationship existed, then defendant can be held liable for Sarah
Augsburger's negligence under the doctrine of respondeat supart`or';
defendant is not liable if Sarah Augsburger was an independent
contractor. Lcmg v. Silva, 306 lll. App. 3d 960, 972, 24011], Dec. 21, 715
N.E.Zd 708, 716 (1999).
Commerce Bank v. Youth Ser"vz`ces osz`ri-Illz`nois, Inc., 2002 WL 1997876, *2 (lll.
App. 2002). Thus, if Iackson and Intell can establish that Walsh was an independent

contractor, they cannot be found indirectly liable for any negligence Walsh may have

committed

 

4 II"the issue of whether or not Iackson is covered by the policy does arise, the Court requests
Hinkle to implement a better system for referencing specific pages of the policy.

_12_

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 14 of 17 Page|D #:569

If Walsh undertook to produce a certain result but was not controlled as to the
method in which it was to obtain that result, then it was an independent contractor. See
Lang v. Sz'lvu, 715 N.E.Zd 708, 716 (lll. App. 1999). On the other hand, if Jackson
andfor Intell had the right to control the manner and method in which Walsh performed
its work, then Walsh was an agent of J`ackson and/or lntell. Scc id. Whether or not
Walsh is an agent versus an independent contractor is a question of fact. Stewrtr‘r v.
Jones, 742 N.E.Zd 896_., 903 (l`ll. App. 2001). Neverthcless, “tlie question may be
decided as a matter of law when the relationship is so clear as to be indisputablc.” ]d.
Because Iackson and Intell have offered extensive evidence of an independent
contractor relationship, which has not been refuted by Hinkle, the Court rules as a
matter of law that Walsh was an independent contractor.

The fact that Walsh was an independent contractor does not end the inquiry into
Hinkle’s negligence claims against Jackson and lntell. Hinkle has alleged that, in
addition to being indirectly liable on account of Walsh’ s ne gli gence, lacks on and Intell
are directly liable on account of their own negligence ]\Iothing in .lac`l<son’s and
Inte]l’s motion addresses their own alleged negligence and to this extent their motion

is denied.

_13_

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 15 of 17 Page|D #:570

2. Breach of Contract

Iackson and intell argue that summary judgment on the Complaint should be
granted because Hinkle was never actually or constructively evicted. Turning to the
contractual claim, Hinkle alleges that Jacl<son breached the covenant of quiet
enjoyment embodied in paragraph 20 of the Isease.5 ln order to establish a breach of
the covenant of quiet enjoyment, Hinkle must show that it was actually or
constructively evicted Saa Shckar and Assocs., Inc. v. Medical Techs. Group, Ltd.,
733 N.E.Zd 865, 872 (Ill. App. 2000) (“'l`he claim of breach of the covenant of quiet
enjoyment requires actual or constructive eviction.”). “There can be no constructive
eviction without the vacating of the premises.” Id. Hinkle did not vacate the foices
until sometime in May of 2000. Hinkle’s Lease with Jac`kson admittedly ended on
May 31, 2000. lt is unclear whether or not Hinkle vacated the Offices prior to
termination of the Lease. If this was the case, it was Hinkle’s burden to allege it and
to put forth facts in support of it. Because Hinkle has not alleged that it was
constructively evicted or put forth any facts in support of such an allegation, the Court

finds as a matter of law that it cannot prove its cause of action based on the Lease.

 

5 Hinkle states that iackson mischaracterizes its breach of contract claim as being solely for
breach of the covenant of quiet enjoymentl On the contrary, the Court find's Jackson’s
characterization accurate.

_14,

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 16 of 17 Page|D #:571

SANCTIONS
Hinkle moves for sanctions against Jacl<son, lntell, and their joint counsel under
Rule ll of the Federal Rules of Civil Procedure and pursuant to 28 USC § 1927.
Hinlcle alleges four instances of sanctionable behavior on the part of Jackson and Intell:
l. Assertin g the affirmative defense of assumption of risk;
2. Assertin g that the Lease was altered;
3. Asserting that Hinkle has failed to state a claim for punitive damages
upon which relief can be granted; and
4. Asserting Lease provisions that this Court had already ruled void and
asserting Lease provisions under interpretations this Court has already
rejected
Jacl<son’s and Intell’s purported defenses that Hinkle assumed the risk of injury
and implicitly modified the terms of Lease were clearly uphill battles from the start.
Significantly, however, they were not so without merit as to rise to the level of
sanctions.
Jacl<son’s and Intell’s affirmatives defenses regarding punitive damages and
some of their counterclaims based on paragraphs 9(a), 9(b), and 9(e) of the Lease were
in direct contradiction to the clearly established law of the case. l-lowever, this Court

will not impose sanctions on behavior that can be interpreted as preserving appellate

_15_

 

Case: 1:01-cv-05078 Document #: 83 Filed: 10/02/02 Page 17 of 17 Page|D #:572

rights. We assume that pleading the counterclaims in response to Hinkle’s (amended)
Complaint was done for that reason.
CONCLUSION

Based on the foregoing analysis this Court grants in part and denies in part
Hinkle’s motion to strike, grants in part and denies in part I'linltle’s motion for
summary judgment, grants in part and denies iii part Jackson's and lntell’s cross~
motion for summary judgment, and denies l-linl<le"s motion for sanctions Paragraphs
18 and 27 of l'linkle’s Rule 56.1(a)(3) statement are deemed admitted Judginent is
entered for Hinkle on all of Jackson’s and Intell’s affirmative defenses Judgment is
entered for Hinkle on all of _l ackson’s and Intell’s counterclaims except for Jacltson’s
counterclaim for failure to obtain insurance pursuant to paragraph 9(c) of the Lease.
.ludgement is entered for Jackson and Intell on Hinkle’s respondeat superior
negligence claim. Judgment is entered for lackson on Hinkle’s breach ofthe covenant

of quiet enjoyment claim.

states straw

Charles P. Kocoras
Chief Judge
United States District Court

Dated: october 2, 2002

,16-

 

